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        Exhibit 147
    (Filed Under Seal)
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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS




In re EPIPEN (EPINEPHRINE                     CASE No. 2:17-md-2785
INJECTION, USP) MARKETING, SALES              CASE No. 2:17-cv-2452
PRACTICES AND ANTITRUST
LITIGATION

__________________________________

SANOFI-AVENTIS US, LLC,

     Plaintiff,

v.

MYLAN INC.; and
MYLAN SPECIALTY L.P.,

     Defendants.




                         EXPERT REBUTTAL REPORT OF
                           THOMAS R. VARNER, PH.D.




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          I.    INTRODUCTION

          1.    I previously submitted an expert report in this matter on February 4, 2019 (Varner

Expert Report) in which I offered my opinions on damages related to Mylan’s counterclaim

allegations that Sanofi made false and misleading representations about the EpiPen® Auto-

Injector (“EpiPen”) and Auvi-Q® products.

          2.    I have since received the Expert Reports of Dr. Steven N. Wiggins and

Mr. Eduardo Schur, both dated March 25, 2019 (Wiggins Expert Report and Schur Expert

Report, respectively).

          3.    I provided a summary of my background and assignment in this matter in Varner

Expert Report. My hourly billing rate is $825, and my compensation is not dependent on the

outcome of this matter in any way. Appendix A is a copy of my current CV and Appendix B is a

list of documents, reports, and testimony I have considered since I submitted Varner Expert

Report.

          II.   SUMMARY OF OPINIONS

          4.    Dr. Wiggins’ opinion of damages due to Sanofi’s allegedly false and misleading

representations about EpiPen® and Auvi-Q® is based on comparing pre-launch forecasts of

Auvi-Q®’s market shares1 with Auvi-Q®’s actual market shares. Dr. Wiggins assumes these

forecasts can serve as the basis for a but-for scenario in which there was no wrongful conduct by

Sanofi. Dr. Wiggins then observes that Auvi-Q®’s actual market shares were lower than his


1
 Dr. Wiggins appears to use the term “market shares” and “shares” in the context of Auvi-Q®’s share of
EAI device sales; however, nowhere in Dr. Wiggins’ expert report does he analyze or define a relevant
market. Throughout this report I use the term “market shares” in response to Dr. Wiggins’ opinions and
not in relation to defining a relevant market for the devices at issue.


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selected benchmark forecasts and argues that this means that Sanofi’s misconduct could not have

resulted in any damages.

       5.       Dr. Wiggins’ forecast-as-benchmark damages methodology is deeply flawed for a

number or reasons including:

               Dr. Wiggins’ methodology is premised upon the assumption that Sanofi’s

                forecasts did not envision Sanofi engaging in the alleged false and misleading

                representations; however, Dr. Wiggins offers no support for this assumption.

               Dr. Wiggins fails to control for other factors that may explain why Auvi-Q®’s

                actual shares are lower than Mylan’s and Sanofi’s forecasts. Without controlling

                for other variables that went into, or otherwise would have affected, these

                forecasts (including Auvi-Q® prices, Sanofi’s sales and marketing execution

                problems, strength of Sanofi’s sales force devoted to Auvi-Q®, and user,

                physician, and PBM acceptance of Auvi-Q®), Dr. Wiggins’ damages opinions are

                unfounded.

               Dr. Wiggins’ damages methodology relies on Mylan forecasts developed as rough

                scenario planning tools that relied primarily on the experience of a few follow-on

                drugs outside of the therapeutic area of epinephrine auto-injectors (“EAIs”) as the

                basis for his damages analysis and not on forecasts based on the features and

                factors specific to Auvi-Q®.

               Dr. Wiggins mischaracterizes documents he cites supporting his contention that

                Mylan believed that Auvi-Q would address previously unmet needs, when those

                documents instead show that Mylan had limited information about Auvi-Q®’s

                features and the basis for consumer demand.

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               Dr. Wiggins fails to reconcile his damages theory with the damages theory of

                Sanofi’s damages expert Prof. Fiona Scott Morton who offered an opinion in

                support of Sanofi’s claims of anticompetitive conduct by Mylan.

               Dr. Wiggins relies on selected Auvi-Q® forecasts in reaching his damages

                opinions in this matter without considering other Auvi-Q® forecasts that could

                change those opinions.

       6.       In rebutting my opinions in Varner Expert Report, Dr. Wiggins fails to provide

any basis to apportion damages (which I understand is the burden of the defendant to prove

under the Lanham Act). There are a number of documents produced by Sanofi showing the

importance it placed on physicians recalling Sanofi’s comparative statements between EpiPen®

and Auvi-Q® in driving sales of the Auvi-Q® product. The full extent of the impact of these

statements is ultimately a question for the jury to make but based on these documents that impact

would not be zero as Dr. Wiggins appears to contend.

       7.       Furthermore, in rebutting Varner Expert Report, Dr. Wiggins: ignores evidence

from Sanofi showing there was less demand for Auvi-Q®’s features than Sanofi planning

documents had forecast; overstates the impacts of EpiPen manufacturing issues on Mylan’s

ability to make additional sales; and confounds average costs with incremental costs in

calculating Mylan’s lost profits.

       8.       Mr. Schur criticizes Mr. Zieziula for citing data from a Sanofi report because that

data is not based on a “significant sample [] size”; however, Mr. Schur provides no basis for that

opinion, and in fact his own confidence interval calculations confirm that a statistically

significant percentage of allergists and pediatricians recalled receiving Sanofi’s alleged false and

misleading messages.

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          10.     Dr. Wiggins then compares Auvi-Q®’s forecasted market shares, from both

Mylan and Sanofi, in his Figure 1 to Auvi-Q®’s actual market shares.




          11.     Dr. Wiggins’ forecast-as-benchmark damages theory rests on the assumption that

the sales and marketing practices at issue in this case were not envisioned by Sanofi when it

prepared its forecasts for Auvi-Q®’s market shares. Dr. Wiggins does not appear to have done

any analysis to show if this assumption is accurate, nor has he pointed to any other evidence to

support it. In fact, Sanofi claims that it did not make any false and misleading representations, so

it is possible that Sanofi thought such representations were legal and envisioned them as part of

its forecasts.5 Thus, Dr. Wiggins has no basis to believe one way or the other whether Sanofi

envisioned the representations when it prepared its prelaunch forecasts of Auvi-Q®. If Sanofi

envisioned before Auvi-Q® launched that the alleged false and misleading representations would

be part of its marketing strategy, even if they did not believe the representations were false and

misleading, then the basic premise of Dr. Wiggins’ forecast-as-benchmark damages theory

would be wrong because Sanofi’s forecasts would have included the anticipated effects of the

false and misleading representations. Thus, Dr. Wiggins has not provided a basis to even assert a

forecast-as-benchmark damages theory, and his opinions on damages in this matter are

unfounded.




4
    Wiggins Expert Report, 3/25/19, ¶ 77, p. 21.
5
 Sanofi-Aventis U.S. LLC’s Answer to Mylan Specialty L.P.’s Counterclaims, 2/6/18, e.g., ¶¶ 25-56, pp.
6-9.


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             B. Dr. Wiggins fails to control for other factors that may explain why
                                                                                         and thus
                Dr. Wiggins’ damages opinions are unfounded

       12.




       13.      Dr. Wiggins’ implicit assumption is that all of the factors that went into

Auvi-Q®’s forecasted market shares actually occurred as forecasted after the Auvi-Q® launch,

with the exception of the accused false and misleading representations made by Sanofi about

EpiPen® and Auvi-Q®. This assumption is unsupported. Dr. Wiggins did not determine if the

forecast models’ assumptions actually turned out to be true after Auvi-Q® launched in 2013. In

other words, Dr. Wiggins’ analysis did not control for the effects of differences between any of

the numerous variables in the forecast models (or any other variables that should have been

included in the models but were not included) and what occurred in the actual world. Dr.

Wiggins also apparently did not consider the possibility that if the effects of these other variables


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              This document states,



        16.

                                                however, Exhibit 8.1 to my February 4, 2019

Expert Report shows that Auvi-Q® actually sold at an average WAC price premium to EpiPen®.

Dr. Wiggins does not examine whether Auvi-Q®’s price premium could explain some, or all, of

the lower than forecasted Auvi-Q® market shares seen in the actual world.



                     then Dr. Wiggins, using his own forecast-as-benchmark damages theory,

could not conclude that there were no effects from the false and misleading representations on

Auvi-Q®’s sales.



                                             consequently, his damages theory is unsupported

and speculative.




7
                                                    , slide 5, [MYEP00629734].
8
                                                     slide 29. [MYEP00629734].
9
                                             [SAN-EPI-0171591-96, at 93].


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           23.      The Mylan documents Dr. Wiggins cited as a benchmark for his but-for damages

analysis were used by Mylan as planning tools to understand how the market might react to

different EAI entrants and not as the basis for the most likely market share outcome.




                                                            This is further indication that this

document was used as a rough planning tool to consider a wide range of possible outcomes, and

not as a detailed forecast of how Mylan expected Auvi-Q® to perform.

                 D. Dr. Wiggins mischaracterizes Mylan documents that he used as support for
                    his forecast-as-benchmark damages theory

           24.      Dr. Wiggins states that the first step in his forecast-as-benchmark methodology is

“to consider how these features were expected to impact sales and market share during the period

prior to Auvi-Q®’s launch.”30 Dr. Wiggins states,




           25.      However, many of the documents that Dr. Wiggins cites do not support his

contention that Mylan believed there would be demand for Auvi-Q®’s product features. Dr.


30
     Wiggins Expert Report, 3/25/19, ¶ 43, p. 12.
31
     Wiggins Expert Report, 3/25/19, ¶ 28, p. 8.


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Wiggins states, “Mylan’s assessment of high sales potential was driven by Auvi-Q®’s

innovative characteristics and how those characteristics differentiated the product from EpiPen®

to satisfy unmet needs in the market.”32 As basis for this statement, Dr. Wiggins quotes a Mylan

presentation



                                                    There is no mention of “Auvi-Q®’s innovative

characteristics,” “how those characteristics differentiated the product from EpiPen,” or that these

characteristics satisfied “unmet needs in the market.” Dr. Wiggins fails to note that these

“weaknesses” are not in comparison to Auvi-Q®. Dr. Wiggins also fails to mention the

EpiPen® Strengths in this presentation, which include




           26.      Dr. Wiggins then cites to a 2008 Mylan email that “Auvi-Q® posed a threat to

their EpiPen® business.”34 However, Dr. Wiggins failed to include the sentence that preceded

his quote in the 2008 Mylan email, that is,

                                              (Underline in original.) The email also noted that the

Auvi-Q® (then called EpiCard) design

                                Thus, Mylan’s knowledge about the Auvi-Q® device was limited at




32
     Wiggins Expert Report, 3/25/19, ¶ 45, p. 12.
33
                                                          at slide 17 [MYUEP00118416].
34
     Wiggins Expert Report, 3/25/19, ¶ 45, p. 12.
35
     Mylan email,                              [PFE_EPIPEN_AT00648955].


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this early stage of its development, and Dr. Wiggins’ characterization that “Mylan’s assessment

of high sales potential was driven by Auvi-Q®’s innovative characteristics” is not supported by

these documents.

          27.      Dr. Wiggins states,



                                               A document Dr. Wiggins cites to support this

characterization, a Mylan presentation dated May 30, 2013, (MYEP00107916) at slide 49, refers

to




          28.      These documents do not support Dr. Wiggins’ characterizations of Mylan’s

assessments of Auvi-Q®. To the extent that Dr. Wiggins’ forecast-as-benchmark damages

theory depends on his characterization that Mylan believed that the Auvi-Q® device would

“address previously unmet needs,” his damages opinion is unsupported.

                E. Dr. Wiggins’ forecast-as-benchmark damages theory cannot be reconciled
                   with Professor Scott Morton’s forecast-as-benchmark damages theory
                   related to Mylan’s alleged anticompetitive conduct

          29.      Dr. Wiggins asserts that Sanofi’s and Mylan’s forecasts are an accurate

benchmark of Auvi-Q®’s market shares but-for Sanofi’s accused false and misleading

representations.



                                         Sanofi’s economics expert addressing its antitrust claims



36
     Wiggins Expert Report, 3/25/19, ¶ 46, pp. 12-13.


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against Mylan (Prof. Fiona M. Scott Morton) relies on a similar damages theory.37 Prof. Scott

Morton contends that Sanofi’s and Mylan’s forecasts are an accurate benchmark of Auvi-Q®’s

market shares, but-for Mylan’s alleged wrongful anticompetitive conduct.

                                      and that Prof. Scott Morton contends that Mylan’s alleged

conduct caused the entire difference between the actual and forecasted shares, and that the entire

difference between forecasted and actual share is an accurate measure of Sanofi’s claimed

antitrust damages.

         30.    Dr. Wiggins and Prof. Scott Morton are relying on similar forecast-as-benchmark

damages theories (both for claims by Sanofi against Mylan and counterclaims by Mylan against

Sanofi), such that when one theory is viewed in relation to the other, their premises and findings

are inconsistent with one another. Dr. Wiggins fails to control for the impact of the alleged

Mylan anticompetitive conduct, which Professor Scott Morton argues drove Auvi-Q®’s share

down from the forecasted shares to the actual shares. Dr. Wiggins’ but-for world assumes that

Professor Scott Morton and Sanofi are wrong, and that Mylan’s alleged anticompetitive conduct

had no impact on Sanofi’s shares. For Dr. Wiggins’ analysis to be consistent with Professor

Scott Morton’s theory, he would need to account for Professor Scott Morton’s measure of the

impact of Mylan’s alleged anticompetitive conduct. This would involve Dr. Wiggins decreasing

his benchmark shares by the magnitude of the alleged anticompetitive effect as measured by

Professor Scott Morton to create a new estimate of but-for shares in a world without Sanofi’s

allegedly deceptive marketing practices but with Mylan’s challenged antitrust conduct. Then,

under his damages theory, he would compare adjusted benchmark shares, now accounting for


37
  Expert Report of Dr. Fiona M. Scott Morton, 2/4/19, Section XI, Estimating the Antitrust Injury
Suffered by Sanofi, pp. 112-128.


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Professor Scott Morton’s theory, to the actual world to determine whether Auvi-Q®’s actual

shares were higher than its adjusted benchmark shares.

       31.     However, Dr. Wiggins’ damages cannot account for Professor Morton’s damages

methodology without rendering his damages theory illogical. If Dr. Wiggins adjusts his

benchmark to account for Professor Scott Morton’s measure of the impact of Mylan’s alleged

anticompetitive conduct, that will drive his benchmark down to Auvi-Q’s actual share (because

Prof. Scott Morton measure of impact is exactly the difference between Auvi-Q®’s forecasted

shares and the actual shares). Then, following Dr. Wiggins’ damages theory, he would compare

the adjusted benchmark shares in the but-for world (which equals Auvi-Q®’s actual shares) to

the real world shares that included Sanofi’s alleged false and misleading representations. Thus,

accounting for Prof. Scott Morton’s damages theory (and Sanofi’s allegations of anticompetitive

conduct against Mylan) in his damages model, Dr. Wiggins’ damages theory is transformed into

a meaningless tautology, where his analysis asks whether Auvi-Q®’s actual shares equals Auvi-

Q®’s actual shares.

       32.     Dr. Wiggins did not recognize or address this incompatibility of his damages

theory with Prof. Scott Morton’s damages theory. Dr. Wiggins does not explain whether his but-

for world accounts for the impacts of Sanofi’s and Mylan’s respective alleged conduct. And Dr.

Wiggins does not address how the two models could be reconciled by a judge or jury in the event

that both Mylan and Sanofi are found liable for the respective claims against them and damages

must be calculated for both claims.




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                 F. Differences in Mylan and Sanofi forecasts of Auvi-Q®’s market share shows
                    the unreliability of using these forecasts as the basis for a damages
                    benchmark

           33.      Dr. Wiggins presents in his Figure 1 a forecast from Mylan and a forecast from

Sanofi of Auvi-Q®’s market shares; however, these are just two forecasts of Auvi-Q®’s sales

and market shares among many forecasts made by Mylan and Sanofi. If, for example, Dr.

Wiggins had relied instead on a different Mylan market share forecast38 as the basis for his

forecast-as-benchmark damages theory, he would have found that

                                             resulting in a finding, under Dr. Wiggins’ theory, that the

alleged false and misleading representations could have resulted in increased Auvi-Q® sales.

Because Dr. Wiggins provides no reason for selecting one forecast over another or for focusing

on market shares in later years, his analysis is arbitrary and his findings are unreliable.

           IV.      REBUTTAL TO DR. WIGGINS’ SPECIFIC CRITIQUES OF VARNER
                    EXPERT REPORT

                 A. Dr. Wiggins failed to provide any basis to apportion damages

           34.      Dr. Wiggins states, “Dr. Varner fails to determine any impact of the alleged

conduct on Auvi-Q® sales. Instead, Dr. Varner begins by calculating total Auvi-Q® sales,

implicitly attributing all sales to the alleged statements, and also thereby implicitly assuming that

Auvi-Q®’s but-for sales would have been zero.”39

           35.      I understand that the Lanham Act specifies that, “In assessing profits the plaintiff

shall be required to prove defendant’s sales only; defendant must prove all elements of cost or

deduction claimed.” I understand from counsel that the plaintiff is responsible for showing


38
     E.g., see                                                   [MYEP00392152 at slide 5].
39
     Wiggins Expert Report, 3/25/19, ¶ 15, p. 4.


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defendant’s sales and it is the burden of the defendant to deduct any sales that were not

attributable to the false advertising. I showed sales of the Auvi-Q® product based on sales

records produced by Sanofi; however, Dr. Wiggins provided no analysis, discussion, data, or any

other basis, in which to reduce Auvi-Q® sales due to the alleged wrongful false advertising.

          36.   Mr. Zieziula, in his expert report, discussed multiple documents produced by

Sanofi in which Sanofi highlighted the importance of making comparative claims about patient

preference. Mr. Zieziula’s opinion was “that Sanofi made promotional claims to payers,

physicians, and consumers when marketing Auvi-Q that would not be consistent with industry

best practices, lack the substantiation required by regulatory standards, and are at odds with the

data that Sanofi actually possessed.” Among other false or misleading claims, Mr. Zieziula

stated that Sanofi made unsupported comparative claims about patient preference. Mr. Zieziula

stated that there were “numerous instances” of misleading comparative claims by Sanofi in the

documents he reviewed, which suggested Sanofi had “a widespread practice” of making false

and misleading comparative statements. Mr. Zieziula reviewed Sanofi presentations of the type

that he said are regularly used to “assist pharmaceutical companies to determine which messages

are working in the field” that showed the prevalence of false and misleading statements made by

Sanofi.

          37.




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                                                        The full extent of this impact is ultimately a

question for the jury to make but based on these documents that impact would not be zero as Dr.

Wiggins appears to contend.

                 B. Dr. Wiggins is wrong when he states that my calculation of Mylan’s lost
                    profits is incorrect because it omits Auvi-Q® returns

           38.      Dr. Wiggins states,




           39.      Exhibit 1 in Varner Expert Report shows Auvi-Q® gross sales in terms of dollars

for reference purposes only. My calculation of Mylan’s lost profits is based on doses of Auvi-

Q® sold, not on Auvi-Q®’s gross dollar sales. I apportion to Mylan those Auvi-Q® doses sold

based on EpiPen®’s share of EAIs sold without Auvi-Q® and multiply that quantity by the

average net sales price of EpiPen®. These average net sales for EpiPen® incorporates all



40
                                                                                       [SAN-EPI-
0095078].
41
     Wiggins Expert Report, ¶ 88, p. 25.


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returns, rebates and discounts associated with EpiPen®’s sales. Thus, my calculation of Mylan’s

lost profits associated with Auvi-Q®’s sales properly incorporates returns, rebates and discounts

related to EpiPen, and Dr. Wiggins incorrectly states that Auvi-Q® returns should be included in

this calculation.

           40.     Dr. Wiggins also addresses EpiPen® sales after Auvi-Q® was recalled in October

2015.

                        Dr. Wiggins is arguing that Mylan cannot claim lost EpiPen® sales in the

but-for world when it made additional sales in that actual world after Auvi-Q® was recalled and

Auvi-Q® users switched to EpiPen®. However, Dr. Wiggins argues on the very next page of his

report, “Such new customers would not have purchased EpiPen® even if Auvi-Q® was

unavailable and do not constitute lost sales opportunities for Mylan.”43 Thus, Dr. Wiggins’

opinions are contradictory by stating that Auvi-Q® and EpiPen® are not substitutes (and Mylan

is not entitled to lost profits if Auvi-Q® was not sold in the but-for world) and that Mylan made

additional EpiPen® sales in the actual world after Auvi-Q® was recalled because Auvi-Q® users

switched to EpiPen®.

           41.     If I assume that Dr. Wiggins’ opinion is that EpiPen® devices are substitutes for

Auvi-Q® devices, which is the basis for my lost profits market share apportionment analysis in

Varner Expert Report, then after Auvi-Q® was recalled at the end of October 2015 a portion of

Auvi-Q® users who received a refund may have purchased an EpiPen® device. Dr. Wiggins

does not provide any analysis of how many Auvi-Q® users who received a refund would have



42
     Wiggins Expert Report, ¶ 88, p. 25.
43
     Wiggins Expert Report, ¶ 91, pp. 26-27.


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the 100 percent amount based on the defendant’s burden to reduce (or apportion) those sales

attributable to the alleged false and misleading representations.

         43.      Dr. Wiggins’ calculation only applies to Sanofi’s profits if all of the Auvi-Q®

sales are due to the alleged false and misleading representations. I agree with Dr. Wiggins that if

100 percent of Auvi-Q®’s sales are attributable to the accused false and misleading

representations, then Sanofi’s financial statements show

                                                                                                    If the

amount of Auvi-Q®’s sales that are attributable to the accused false and misleading

representations is lower than 100 percent of its sales, then one needs to consider the incremental

profit on those sales to calculate unjust enrichment damages.48 Dr. Wiggins did not calculate

Sanofi’s incremental profit on Auvi-Q®’s sales, and therefore, cannot conclude that there was no

unjust enrichment.

               D. Dr. Wiggins overstates the impacts of EpiPen manufacturing issues

         44.      Dr. Wiggins cites to FDA letters to Mylan and Meridian regarding questions

about EpiPen® inspections and safety issues, and then raises the possibility of these issues

having a negative impact on Mylan’s ability to meet the demand in the but-for scenario in which

Sanofi did not make the alleged false and misleading representations.

         45.      Many of the manufacturing issues raised by Dr. Wiggins relate to quality control

questions and Dr. Wiggins does not provide any indication that these issues raised by the FDA



48
  Incremental profits and average profits are different if some costs are fixed. For example, if a sales
staff of 100 can sell an additional 1% of product without increasing staff, then the incremental profit on
those additional 1% of sales would not include the expense of an additional salesperson. That is, those
expenses related to sales staff would be fixed in relation to an incremental increase in sales, and the
incremental profit on those sales would be higher than the average profits on all sales.


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would have resulted in Meridian’s inability to manufacture additional EpiPen® devices.

Dr. Wiggins cites to FDA inspection letters to Meridian in 2013 and 2017 referring to them as

showing                                                                              Meridian’s

letters to the FDA




                                           A Meridian memo in 2017 stated that



           46.




           47.     Dr. Wiggins references a recall in 2017 of EpiPen® in which he states, “The 2017

recall involved more than 1 million units worldwide, leading to significant and severe EpiPen®




49
     Wiggins Expert Report, 3/25/19, ¶ 93, p. 27.
50
     Meridian letter to FDA [PFE_EPIPEN_AT01059972-015 at 972].
51
     Pfizer Letter [MYEP01041197-99 at 98].
52
  Phone interview with Mr. Chris Benson, Mylan Head of Supply Chain for Biologics and Respiratory
Products, 3/28/19.


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shortages, which are still ongoing.”53 This recall occurred in March 2017, 18 months after Auvi-

Q® was recalled, so this particular recall would not have affected Mylan’s ability to make

additional sales prior to October 2015. Thus, Dr. Wiggins’ implication that increased

manufacturing output is connected to increased inspection and safety issues is not supported by

Mylan’s and Meridian’s actual manufacturing history or Mylan’s ability to make product sales.

                 E. Dr. Wiggins’s opinions regarding Mylan’s incremental profit margin are
                    unfounded or otherwise in error

           48.      Dr. Wiggins makes a number of comments regarding my calculation of the

incremental profit margin for EpiPen® that are either unfounded or are otherwise in error. Dr.

Wiggins states, “It is unclear why Dr. Varner does not simply rely on the profits and losses of

U.S. EpiPen® sales reported by Heather Bresch, Mylan’s CEO, in her congressional

testimony.”54 Dr. Wiggins appears to have confused average profit margins with incremental

profit margins. (Average profit margins are calculated using all fixed and variable expenses and

incremental profit margins include only variable expenses, and as such, are by definition higher

than average profit margins.) The document Dr. Wiggins refers to in this comment, “U.S.

EpiPen Profitability Analysis,” presents the Sales, Gross Profit, Operating Product and Net

Product Profitability, among other metrics, of EpiPen® over the years 2008 through 2015.

Dividing gross profit and operating profits by total sales in this document results in the average

gross profit margin and the average operating profit margin over those years, which I show in

Varner Expert Report Exhibit 5.1. Damages at issue in this matter should be calculated, as I




53
     Wiggins Expert Report, 3/25/19, ¶ 95, p. 28.
54
     Wiggins Expert Report, 3/25/19, ¶ 98, p. 29, citing to Exhibit 17 of Heather Bresch Deposition 10/9/18.


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have done in Varner Expert Report, as the incremental profits that Mylan would have made from

its lost EpiPen® sales but-for Sanofi’s alleged false and misleading representations.

           49.     Dr. Wiggins states, “Dr. Varner’s regression approach is problematic because it

estimates Mylan's incremental profit margin using data as far back as 2010 as well as data for

2016, periods well before and after the alleged period of damages.” If I use data from years 2013

to 2015 as Dr. Wiggins suggests, then the incremental profit margin is          , which is higher

than the incremental profit margin of 58.2% I calculated in Varner Expert Report Exhibit 5.3.

Using data from 2010 to 2012, I calculate an incremental profit margin of           , which is lower

than the incremental profit margin using data from 2013 to 2015. While Dr. Wiggins appears to

be arguing for an approach that would result in a higher incremental profit margin, I have taken a

more conservative approach and have done the regression analysis using data over the period

2010 to 2016.

           50.     Dr. Wiggins states, “Dr. Varner inexplicably includes COGS in his dependent

variable. There is no reason to believe that COGS have any fixed component rather than being

entirely variable.”55 Dr. Wiggins is apparently not aware that cost of goods sold (COGS) can

comprise some fixed expenses. COGS is comprised of several components including direct

materials, direct labor, factory overhead and production supplies.56 Only direct materials is

typically fully variable, the other components may comprise some elements of variable expenses

and some elements of fixed expenses. By including COGS in the dependent variable of the

regression analysis I presented in Varner Expert Report, I am able to determine what portion of


55
     Wiggins Expert Report, 3/25/19, ¶ 100, p. 29.
56
  E.g., see FASB, General, Cost Basis 330-10-30-08 and <https://www.irs.gov/businesses/small-
businesses-self-employed/deducting-business-expenses#costs>, Cost of Goods Sold.


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all costs and expenses are variable and which are fixed. If COGS is a fully variable expense as

Dr. Wiggins contends, then the regression analysis will account for that in determining the

model’s fixed coefficient and the coefficient of the dependent variable.

V.         REBUTTAL TO MR. SCHUR’S STATISTICAL ANALYSIS

           51.     I have been asked to review and comment on the statistical analysis Mr. Schur

made in his expert report dated 3/25/19 (“Schur Expert Report”). Mr. Schur challenges

Mr. Zieziula’s reliance in his February 4, 2019 expert report on Sanofi market research showing




                                                                         Mr. Schur states that a

sample size of 50 allergists and 50 pediatricians “is not a significant sample population size to

represent the detailed allergists and pediatricians.” I assume that by “detailed allergists and

pediatricians,” Mr. Schur is referring to the population of allergists and pediatricians who were

recipients of Sanofi’s sales force messaging, and by “sample population size” Mr. Schur is

referring to the sample size of the Sanofi recall study. (Mr. Schur does not provide an analysis or

opinion regarding the population size or any other statistic that relies on population size.)




57
     Zieziula Expert Report, 2/4/19, p. 6.
58
     Schur Expert Report, 3/25/19, Appendix 3.
59
     Schur Expert Report, 3/25/19, Appendix 3.


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         52.   In statistical analysis samples are taken from a population of interest, metrics are

calculated for the set of sampled data, and inferences are made about the characteristics of the

population based on the metrics of the sample set. One way this is done is to calculate

confidence intervals or bands around those calculated metrics at a given level of confidence (e.g.,

an analysis may find that a sample mean is 30% and that, with a 95% degree of confidence, the

mean of the population that was sampled is estimated to fall between 40% and 20%). The

number of samples taken (the “size” of the sample) affect the width of the confidence intervals of

the characteristics of the population estimated at the desired level of confidence.

         53.   There are a number of problems with Mr. Schur’s statistical analysis. By

focusing on just one survey that Mr. Zieziula examined, Mr. Schur ignores the other surveys that

Mr. Zieziula considered in forming his opinion. Mr. Schur states that the 100 physicians

surveyed are not a “significant” sample size, but Mr. Schur does not provide any discussion or

opinion about what “significant sample size” would be, or what he means by a size necessary “to

represent the detailed allergists and pediatricians.” Mr. Schur provides no discussion or opinion

about what confidence interval would be acceptable, or even what criteria he would use to decide

what confidence level or interval would be acceptable. If the sample size were doubled to 200

from 100 (and using the probabilities shown in Mr. Schur’s Appendix 3),



                                   Mr. Schur provides no opinion as to whether this would be

sufficient to “represent” the population of allergists or physicians, or if an even larger sample

size would be necessary.



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                                        APPENDIX A
                                     CURRICULUM VITAE

                                Thomas R. Varner, Ph.D.


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                      1111 Broadway, Suite 1500
                      Oakland, CA 94607
                      510.285.1218 direct, 510.285.1245 fax
                      E‐mail: tvarner@compasslexecon.com


EDUCATION

1992 – 1997, M.S. in Engineering-Economic Systems and Ph.D. in Engineering-Economic
       Systems & Operations Research, Stanford University, Stanford, CA
1980 & 1987, M.S. in Civil Engineering and MBA, University of California, Berkeley, CA
1975 – 1979, B.S. in Architecture with Honors, California Polytechnic State University, San Luis
       Obispo, CA


PROFESSIONAL EXPERIENCE

January 2016 – Present, Executive Vice President, Compass Lexecon, Oakland, CA
April 2010 – January 2016, Senior Vice President, Economists Incorporated, San Francisco, CA
January 2002 – April 2010, Principal, Cornerstone Research, Inc., San Francisco, CA
January 2004 – March 2005, Lecturer (Economics and Finance), Economics Department,
       University of California, Davis, CA
April 2001 – November 2001, Manager (Financial Advisory Services), PricewaterhouseCoopers
       LLP, San Francisco, CA
September 1997 – April 2001, Managing Director, Investment & Risk Analytics, Inc., Lafayette,
       CA
September 1994 – September 1997, Consulting Researcher (Valuation of Financial Instruments),
       Prof. Darrell Duffie, Graduate School of Business, Stanford University, Palo Alto, CA
September 1993 – September 1997, Teaching Assistant and Research Assistant, Department of
       Engineering-Economic Systems, Stanford University, Stanford, CA
June 1989 – September 1993, Engineering Manager, Dames & Moore, San Francisco, CA
June 1980 – June 1989, Project Manager, Forell/Elsesser, Rutherford & Chekene and Paul F.
       Fratessa & Assoc., San Francisco, CA




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TESTIMONY

2019: Sanofi-Aventis US, LLC, v. Mylan Inc., et al., 2:17-cv-02452-TJJ, U.S. District Court,
District of Kansas. Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP, Washington,
DC. Retained by Mylan as testifying expert on damages in a false advertising matter under the
Lanham Act involving medical devices.
2018: Confidential, Arbitration. O’Melveny & Myers, Los Angeles. Retained by client in
entertainment industry to provide economic analysis of royalty terms for renewal of trademark
license agreement.
2018-2019: Boltex Mfg. Co. and Weldbend Corp. v. Ulma Forja, S. Coop. a/k/a Ulma Piping and
Ulma Piping USA Corp., 14:17-cv-1400, U.S. District Court, Southern District of Texas.
Dechert LLP, New York, NY. Retained by defendants and counterclaim plaintiffs as damages
expert in false designation of origin and false representation matter under the Lanham Act
involving domestic and foreign carbon steel flanges.
2018: Desktop Metal, Inc. v. Markforged, Inc., et al., 1:18-cv-10524-WGY, U.S. District Court,
District of Massachusetts. Quinn Emanuel Urquhart & Sullivan, LLP, San Francisco, CA.
Retained by defendant and counterclaim plaintiff as testifying economics expert in patent
infringement and misappropriation of trade secrets matter involving 3-D metal printers.
2017-2018: Optrics Inc., v. Barracuda Networks, Inc., et al., 17-cv-04977-RS, U.S. District
Court, Northern District of California. Law Offices of Herbert L. Terreri. Retained by plaintiff
as testifying damages expert in breach of contract and trademark infringement matter involving
software.
2016-2019: SS&C Technologies, Inc. v. Bradley Rossa and Clearwater Analytics, LLC, 2015-
CH-15891, Circuit Court of Cook County, Illinois, County Department, Chancery Division.
Kirkland & Ellis LLP, Chicago, IL. Retained by defendants as damages expert in case involving
alleged misappropriation of trade secrets.
2016-2018: In re: Lenovo Adware Litigation, 5:15-md-02624-RMW, U.S. District Court,
Northern District of California, K&L Gates LLP, Los Angeles, CA. Economics expert on behalf
of defendant in consumer class action matter involving alleged consumer fraud related to
computers.
2016: DNA Genotek Inc., v. Spectrum Solutions L.L.C., et al., 3:16-cv-01544-JLS-NLS, U.S.
District Court, Southern District of California. Simpson Thacher & Bartlett LLP, Palo Alto, CA.
Retained by defendants as economics expert on patent infringement case involving medical
devices.
2016: Kaneka Corp. v. Zhejiang Medicine Co., Ltd., et al., CV 11-02389-MRP, U.S. District
Court, Central District of California. Mei and Mark, LLP, Washington, DC. Retained by
defendant as damages expert in patent infringement case involved pharmaceutical product.
2015-2016: Alexander Stross v. Redfin Corp., 1:15-cv-223-SS, U.S. District Court, Western
District of Texas. Foster Pepper PLLC, Seattle, WA. Retained by defendant as economics
expert on copyright infringement case involving photographs on real estate broker website.




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2015-2016: DNA Genotek Inc., v. Ancestry.com DNA, LLC, 15-0355-SLR, and DNA Genotek
Inc., v. Spectrum DNA, et al., 15-cv-00661-SLR, U.S. District Court, District of Delaware.
Fenwick & West, LLP, San Francisco, CA. Retained by defendant as economics expert on
patent infringement case involving medical devices.
2015-2016: Confidential. Drinker Biddle & Reath LLP, Washington, DC. Expert witness
services on economic analysis of copyright licensing terms.
2015: Changzhou Kaidi Electrical Co, Ltd., et al., v. Okin America, Inc., et al., U.S. District
Court, District of Maryland, 1:13-cv-1798. Mayer Brown LLP, Washington, DC. Provided
expert report, deposition testimony, and testified at trial on behalf of accused infringer in patent
infringement matter involving mechanical actuators.
2015: The Cat Ball, LLC v. FurHaven Pet Products, Inc., U.S. District Court, Western District of
Washington, 2:14-CV-00292-MJP. Foster Pepper PLLC, Seattle, CA. Damages expert on behalf
of defendant in false advertising and unfair competition matter involving pet products.
2014-2015: Matthew Burnett, et al., v. Robert Bosch LLC USA, et al., U.S. District Court,
Middle District of Florida, 8:14-CV-01361. K&L Gates LLP, San Francisco, CA. Economics
expert on behalf of defendant in class certification matter involving alleged misrepresentation of
selected spark plugs.
2014-2015: Michigan State University v. Medlen & Carroll, LLP, et al., U.S. District Court,
Western District of Michigan, 1:14-cv-00039. Fraser Trebilcock Davis & Dunlap, P.C., Detroit,
MI. Damages expert on legal malpractice mater involving alleged failure to file foreign patents
related agricultural biotechnology.
2014-2015: Isola USA Corp. v. Taiwan Union Technology Corp., U.S. District Court, District of
Arizona, 2:12-cv-01361-SLG. K&L Gates, San Francisco, CA. Damages expert on alleged
infringement of patents related to laminates for multilayer printed circuit boards.
2013-2014: Nxegen, LLC et al. v. Sensus USA, Inc., U.S. District Court, District of Connecticut,
3:11-cv-01197-WGY. Mayer Brown LLP, New York, NY. Damages expert on reasonable
royalties in matter involving smart meter technology for utilities.
2013-2014: In the Matter of: Certain Crawler Cranes and Components Thereof, U.S.
International Trade Commission, No. 337-TA-887. Morris, Manning & Martin, LLP, Atlanta,
GA. Expert analysis of existence of domestic market for crawler crane technology.
2013-2014: JS Products, Inc. v. Kabo Tool Company, et al., U.S. District Court, District of
Nevada, 2:11-cv-01856-RCJ-GWF. K&L Gates, LLP, San Francisco, CA. Damages expert in
patent infringement suit involving tool industry technology.
2013: Lodsys Group LLC v. Brother International Corp., et al., U.S. District Court, Eastern
District of Texas, 2:11-cv-00090 (JRG). Fenwick & West, LLP, San Francisco, CA. Retained by
co-defendant, Symantec Corp., as damages expert on patent infringement suit involving software
technology.
2013: Magnate International Ltd. v. Costco Wholesale Corp., U.S. District Court, Central
District of California, 12-cv-09208-GW. Foster Pepper, PLLC, Seattle, WA. Damages expert in
patent infringement suit involving pump technology.



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2012-2015: QS Wholesale, Inc. v. World Marketing Inc., U.S. District Court, Central District of
California, 8:12-cv-00451-DOC-RNB. Covington & Burling LLP, Washington, DC. Provided
expert report, deposition testimony, and testified at trial in trademark infringement suit involving
trademark in apparel industry.
2012-2014: Hart Scott Rodino IP Rulemaking, Project No. P989316—Notice of Proposed
Rulemaking Regarding Certain Licensing Transactions in Pharmaceutical Industry. Baker Botts
L.L.P., Washington, DC. Submitted declaration addressing economic basis for proposed
premerger notification rules related to exclusive patent licensing.
2012-2015: TransUnion Intelligence LLC, et al. v. Search America, Inc., U.S. District Court,
District of Minnesota, 0:11-cv-01075-PJS-LFN. Baker Hostetler, Costa Mesa, CA. Economics
expert in patent infringement suit involving software technology.
2012-2013: Light Guard Systems, Inc. v. Spot Devices, Inc., U.S. District Court, District of
Nevada, 3:10-cv-00737-LRH-WGC. Alston & Bird LLP, Menlo Park, CA. Economics expert in
patent infringement suit involving transportation technology.
2012: Intellectual Ventures I LLC v. Check Point Software Technologies Ltd., et al., U.S. District
Court, Delaware, 1:10-cv-01067-LPS. Durie Tangri, San Francisco, CA. Economics and
damages expert in patent infringement suit involving Internet technology.
2011-2016: Arkema Inc., et al. v. Honeywell International, Inc., U.S. District Court, Eastern
District of Pennsylvania, 2:10-cv-02886-WY. Kirkland & Ellis LLP, Washington, DC.
Economics expert in patent suit (declaratory judgment and counterclaim patent infringement
suit) involving chemical product.
2009-2010: Angela Bates, et al. v. KB Home, Superior Court of California, County of Alameda,
RG-08- 384954. K&L Gates LLP, San Francisco, CA. Provided declaration addressing the
validity of sampling and statistical analysis of escrow instructions performed by plaintiffs related
to class certification of a set of home buyers in California.
2009: In re Patent of Hee Young Yun, et al., U.S. Patent and Trademark Office, 90/008, 143, 145,
146, and 150. McKenna Long & Aldridge LLP, Washington, DC. Provided declaration
addressing economic issues related to claimed commercial success of patents for liquid crystal
display (LCD) modules as part of patent reexamination process.
2007-2008: Quantum Systems Integrators, Inc. v. Sprint Nextel Corp., U.S. District Court,
Eastern District of Virginia, 1:07-CV-00491. Crowell & Moring LLP, Washington, DC.
Provided expert report, deposition testimony, and testified at trial on economic damages arising
out of alleged infringement of copyrighted software.
2007: Alvarado Hospital Medical Center, Inc. v. Alan Wittgrove, M.D., Superior Court of
California, County of San Diego, GIC 827726. C. Matthew Didaleusky, Esq., Oakland, CA.
Provided testimony at arbitration hearing on economic damages arising out of alleged breach of
contract.
2007: SCI California Funeral Services, Inc. v. Five Bridges Foundation, Superior Court of
California, County of San Mateo, CIV 432392. Shartsis Friese LLP, San Francisco, CA.
Provided deposition testimony on economic issues related to valuation of provisions in real
estate agreement.


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2006-2007: DVD Copy Control Association, Inc. v. Kaleidescape, Inc., Superior Court of
California, County of Santa Clara, 104CV031929. White & Case LLP, Palo Alto, CA. Provided
deposition testimony on economic damages arising out of alleged breach of contract by licensee
of proprietary DVD technology.

2005: Confidential Real Estate Co. v. Confidential Law Firm, private arbitration. Nixon Peabody
LLP, San Francisco, CA. Provided expert report, deposition testimony, and testified at arbitration
on economic damages related to valuation of multiple appraisals for real estate leasehold
contract.
2005: Poway RHF Housing, Inc. v. Irwin Pancake Architects, et al., Superior Court of
California, County of Orange, 04CC09795. Hinshaw & Culbertson LLP, San Francisco, CA.
Designated expert on economic damages arising out of alleged breach of contract and
professional negligence against architect, and resulting in delayed opening of senior assisted
living facility.
2003: Eco-Steel Fabrication, Inc. v. Markol Iron, et al., Superior Court of California, County of
Orange. Miller, Brown & Dannis, San Francisco, CA. Provided expert report and testified at
mediation on economic damages resulting from delayed construction of luxury car dealership in
southern California.


NON‐TESTIFYING ASSIGNMENTS

2018-2019: BlueRadios, Inc. v. Kopin Corporation, Inc. U.S. District Court for the District of
Colorado, 16-cv-02052-JLK. Sheridan Ross P.C., Denver, CO. Economic damages analysis of
breach of contract and misappropriation of trade secret claims regarding filing and use of patents.
2015: Confidential. Cravath, Swaine & Moore LLP, New York, NY. Pre-litigation consulting
related economic analysis of technology licensing terms.
2011-2012: Thermal Design, Inc. v. American Society of Heating, Refrigerating and Air-
Conditioning Engineers, Inc. U.S. District Court, Eastern District of Wisconsin, 07-c-0765-
WEC. Von Briesen & Roper, s.c., Milwaukee, WI. Economic analysis of competitive issues
related to industry standards established for insulation used in non-residential, pre-engineered
metal buildings.
2011-2012: Warner Chilcott Laboratories Ireland, Ltd. et al. v. Mylan Pharmaceuticals Inc. et
al. U.S. District Court, District of New Jersey, 2:09-cv- 02073-WJM-MF. Wilson, Sonsini,
Goodrich & Rosati, Palo Alto, CA. Analysis of economic issues related to the market for
doxycycline hyclate delayed-release tablets and effects of proposed preliminary injunction.
2011-2012: Abbott Laboratories et al. v. Impax Laboratories, Inc. U.S. District Court, District of
New Jersey, 210-cv-01322-DMC-JAD. Wilson, Sonsini, Goodrich & Rosati, San Diego, CA.
Economic analysis of the commercial success of Abbott Laboratories’ introduction and sale of
TRILIPIX® (branded fenofibric acid delayed-release 45 mg and 135 mg capsules).
2011: Confidential. Hennigan Dorman LLP, Los Angeles, CA. Analyzed economic damages in
patent infringement suit involving wireless communication technology.



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2010: Kenneth D. Klaas et al. v. Vestin Mortgage, Inc. et al., Eighth Judicial District Court In
and For Clark County, State of Nevada, A528385. Gibson, Dunn & Crutcher LLP, Palo Alto,
CA. Analyzed economic damages arising from merger of real estate investment funds into real
estate investment trusts (REITs).
2010: In Re: Outsidewall Tire, U.S. District Court, Eastern District of Virginia, 1:09cv1217.
Gilbert LLP, Washington, DC. Analyzed economic issues in misappropriate of trade secret,
copyright infringement, and trademark infringement matter involving specialty tires.
2010: Confidential. Morgan, Lewis & Bockius LLP, Washington, DC. Retained on behalf of an
international computer design firm to research and analyze Internet encryption technology
license agreements.
2009-2010: Confidential, ICC International Court of Arbitration Proceeding. Morrison &
Foerster LLP, San Francisco, CA. Analyzed fiduciary duties among co-investors in an Asia-
based financial institution in relation to private equity industry customs and practices.
2009: Jasmine Networks, Inc. v. Marvell Semiconductor, Inc., et al., Superior Court of
California, County of Santa Clara, No. CV801411. Latham & Watkins LLP, San Francisco, CA.
Analyzed economic damages arising out of alleged misappropriation of trade secrets, breach of
fiduciary duty, and breach of contract.
2009: Fujitsu Limited et al. v. Netgear, Inc., U.S. District Court, Western District of Wisconsin,
3:07-CV- 00710-BBC, O'Melveny & Myers LLP, San Francisco, CA. Provided economic and
licensing analysis for patent infringement suit involving wireless Internet products.
2009: Confidential. Carmody & Torrance LLP, New Haven, CT. Retained by manufacturing
company in printing industry to examine economic issues and damages arising out of patent
infringement suits and antitrust counterclaims.
2009: Confidential. Retained by developer of risk analysis software to analyze damages arising
out of alleged breach of contract involving joint development agreement.
2009: Mosaic Systems, Inc. v. Cisco Systems, et al. & Mosaic Systems, Inc. v. Andreas
Bechtolsheim, et al., Superior Court of California, County of Santa Clara, Nos. 104CV016867
&106CV072920. Morgan, Lewis & Bockius LLP, San Francisco, CA. Analyzed performance of
board members’ fiduciary duties in relation to customs and practices for board members of high-
tech startup companies.
2008: Confidential. Retained by electronics firm to examine industry-wide licensing practices
related to fees, royalties, and other licensing terms for discrete electronic components.
2008: Rambus, Inc. v. Samsung Electronics Co., Ltd., et al., U.S. District Court, Northern
District of California, No. C0502298 RMW. Munger, Tolles & Olson LLP. Analyzed economic
issues related to structure of licensing terms among agreements for semiconductor technology.
2008: Verizon Services Corp., et al. v. Cox Fibernet Virginia, Inc., et al., U.S. District Court,
Eastern District of Virginia, No. 2:08 CV20-JBF/TEM. Kilpatrick Stockton LLP, Washington,
DC. Analyzed economic damages from alleged infringement of patents related to Voice over
Internet Protocol (VoIP) technology.




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2008: Beal Bank, S.S.B, et al. v. WestPoint International, Inc., Court of Chancery of the State of
Delaware in and for New Castle County, Civil Action No. 2617- CC. Hennigan, Bennett &
Dorman LLP, Los Angeles, CA. Analyzed financial and economic effects on the bondholders of
a series of actions taken by defendants related to issuance of preferred shares and changes in
corporate governance.
2008: Stamps.Com Inc., vs. Endicia Inc. and PSI Systems, Inc., U.S. District Court Central
District of California, No. CV06-07499 ABC (CTx). Sheppard Mullin Richter & Hampton LLP,
Los Angeles, CA. Analyzed economic damages from alleged infringement of patents related to
automated postage systems.
2007-2008: United States ex rel. J. Richard West et al. v. Timex Corp., U.S. District Court,
District of Connecticut, No. 3:04-CV-212 (JBA). Carmody & Torrance LLP, New Haven, CT.
Analyzed price of watch products sold to U.S. Service Exchanges in alleged violation of Civil
False Claims Act.
2007-2008: Ronald A. Katz Technology Licensing LP v. General Electric Capital Corp., et al.,
U.S. District Court, Eastern District of Texas, No. 9:06-CV-197- RHC. Hennigan, Bennett &
Dorman LLP, Los Angeles, CA. Analyzed economic damages from alleged infringement of
patent portfolio related to interactive call processing technology.
2007-2008: North Shore City Council, Auckland, New Zealand. Consulting engagement related
to economic analysis of allocation between different constituencies of construction costs for
capital expansion of public transportation system.
2007-2008: BP Chemicals Ltd. v. Jiangsu SOPO Corporation (Group) Ltd., et al., United States
District Court, Eastern District of Missouri, No. 4:99-CV-00323 CDP. Paul, Hastings, Janofsky
& Walker LLP, San Francisco, CA. Analyzed economic damages from alleged misappropriation
of trade secrets related to acetic acid manufacturing technology.
2007-2009: Lawrence J. Torango v. Aristocrat Leisure Ltd., et al., U.S. District Court, District of
Nevada, CV-N-03-0690-HDM-VPC. McDermott Will & Emery, Palo Alto, CA. Analyzed
economic damages from alleged breach of contract, misappropriation of trade secrets and
infringement of patent related to gaming machine technology.
2006-2007: Asyst Technologies, Inc. v. Jenoptik AG, et al., U.S. District Court, Northern District
of California, C98-20451 JF. Fenwick & West LLP, San Francisco, CA. Analyzed price erosion
damages associated with alleged patent infringement of semiconductor manufacturing products
and processes.
2006-2007: In Re Methyl Tertiary Butyl Ether (“MTBE”) Products Liability Litigation, U.S.
District Court, Southern District of New York, MDL 1358 (SAS) M21-88. Kirkland & Ellis
LLP, Chicago, IL. Analyzed economic consequences to oil companies of switching from MTBE-
based to Ethanol based oxygenated and reformulated gasoline over the period 1995 to 2003.
2006-2009: MacSolutions, Inc. v. Apple Computer, Inc., Superior Court of California, County of
Santa Clara, 1-06-CV-056547. Latham & Watkins LLP, San Francisco, CA. Analyzed economic
damages related to alleged breach of contract and misappropriation of trade secrets, among other
claims, between independent resellers of Apple products and Apple Computer.




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2006: Fairchild Semiconductor, consulting engagement. Orrick, Herrington & Sutcliffe LLP,
Menlo Park, CA. Prepared opinion letter addressing potential damage award from pending patent
infringement litigation related to the acquisition of a target company by Fairchild
Semiconductor.
2006: H&R Block Eastern Enterprises, Inc., et al. v. Intuit, Inc., U.S. District Court, Western
District of Missouri, 06-0039-CV-W-SOW. Quinn Emanuel Urquhart Oliver & Hedges, LLP,
Redwood City, CA. Analyzed economic damages in original claim and subsequent counterclaim
from alleged trademark infringement, false advertising, and fraudulent and negligent
misrepresentations related to tax preparation software advertisements.
2006: In the Matter of: Certain Incremental Dental Positioning Adjustment Appliances and
Methods of Producing Same, U.S. International Trade Commission, 337-TA. Paul, Hastings,
Janofsky & Walker LLP, Washington, DC. Analyzed existence of domestic market for clear
orthodontic products on behalf of claimant under Section 337 of Tariff Act of 1930. Claimant
alleged patent infringement and trade secret misappropriation.
2006: Jinro Industries Co., Ltd., v. Obyan Beach Resorts Associates, L.P., Superior Court of
California, County of San Mateo, CIV436382. Calvo & Clark LLP, San Francisco, CA.
Analyzed economic damages from alleged breach of contract between partners in a resort in
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2006: CollegeNET, Inc. v. Xap Corp., U.S. District Court, District of Oregon, 03- 1229-BR.
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CA. Analyzed economic damages from alleged submittal of false unclaimed property
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2005: Trust Created Under the Will of Samuel Mills Damon, Deceased, P. No. 6664 Equity No.
2816-A. John L. McDermott (attorney for Petitioner), Honolulu, HI. Evaluated strategic
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2005: Consulting assignment for Perkins Coie LLP. Performed statistical analysis of patent case
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LLP, Denver, CO. Analyzed retail diesel fuel pricing strategies of truck plaza operators for
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economic damages due to alleged patent and copyright infringement, and misappropriation of
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2003-2004: In re Cardizem CD Antitrust Litigation, U.S. District Court, 6th Circuit. Berman,
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Australia. Analyzed economic basis for series of licensing and funding agreements between
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Rulings,” The Economists Ink, Spring 2010.


PROFESSIONAL AFFILIATIONS

Member, Licensing Executives Society, USA & Canada
Member, American Economics Association
Member, National Association of Business Economists
Member, American Society of Civil Engineers
Associate Member, American Bar Association (IP Law Section)


OTHER

Speaker on economics, damages and technology licensing issues at Licensing Executives Society
(LES), American Law Institute/American Bar Association (ALI/ABA) and Law Seminars
International (LSI) seminars and conferences.
Licensed Civil Engineer and Licensed Structural Engineer (Inactive), State of California
Certificate in Hazardous Materials Management, University of California, Davis, 1990
Ph.D. Dissertation: Strategic Investment Analysis: A Study of Indirect Effects in Optimal
Portfolio Selection, 1997




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                                 Appendix B - List of Materials Considered
                     Expert Rebuttal Report of Thomas R. Varner, Ph.D., April 18, 2019
                                        Document Title / Bates Number                                   Date
Legal
         Sanofi-Aventis U.S. LLC’s Answer to Mylan Specialty L.P.’s Counterclaims                        6-Feb-18

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         Expert Report of Dr. Fiona M. Scott Morton                                                      4-Feb-19
         Expert Report of Dr. Janusz A. Ordover                                                         25-Mar-19
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 CIGNA_00478
 DH0128824
 DH0156755
 EAI 00027790
 EAI 00033532
 Horizon00009478
 Horizon00013404
 IMP-0000977
 IMP-0001006
 IMP-0001038
 kaleo 101809
 KALEO-00006134
 KALEO-00006135
 KALEO-00006989
 KALEO-00007551
 KALEO-00022744
 KALEO-00042499
 kaleo101008
 KFHP-005893
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 MYEP00118416
 MYEP00119241
 MYEP00119242
 MYEP00119576
 MYEP00127706
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 MYEP00127722
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 MYEP00127724
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 MYEP00127729
 MYEP00127730
 MYEP00127731
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 MYEP00140812
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 MYEP00140817
 MYEP00152752
 MYEP00152753
 MYEP00162321
 MYEP00193044
 MYEP00239061
 MYEP00256469
 MYEP00258832
 MYEP00275501
 MYEP00275852
 MYEP00279997
 MYEP00292998
 MYEP00307545
 MYEP00307556
 MYEP00307933
 MYEP00323642
 MYEP00323845
 MYEP00323846
 MYEP00323856
 MYEP00323868
 MYEP00323869
 MYEP00324110
 MYEP00330670
 MYEP00330671
 MYEP00332613
 MYEP00332614
 MYEP00332615
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 MYEP00492591
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 MYEP00493241
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 MYEP00515665
 MYEP00517442
 MYEP00520168
 MYEP00520169
 MYEP00522910
 MYEP00524984
 MYEP00550556
 MYEP00550557
 MYEP00552533
 MYEP00556700
 MYEP00560585
 MYEP00560878
 MYEP00561078
 MYEP00561920
 MYEP00562623
 MYEP00562625
 MYEP00567786
 MYEP00567788
 MYEP00586588
 MYEP00606646
 MYEP00610641
 MYEP00611777
 MYEP00612335
 MYEP00612338
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 MYEP01140256
 MYEP01146099
 MYEP01148131
 MYEP01180279
 MYEP01180282
 MYEP01180987
 MYEP01186100
 MYEP01186102
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 MYEP01209505
 MYEP01211761
 MYEP01211762
 MYEP01211783
 MYEP01211788
 MYEP01211792
 MYEP01211794
 MYEP01211811
 MYEP01268235
 MYEP01319420
 MYEP01319518
 MYEP01319592
 MYEP01322673
 MYEP01322679
 MYEP01362752
 PBE_00000391
 PBE_00000498
 PBE_00000617
 PFE_EPIPEN_AT00011447
 PFE_EPIPEN_AT00011449
 PFE_EPIPEN_AT00546951
 PFE_EPIPEN_AT00548494
 PFE_EPIPEN_AT00548495
 PFE_EPIPEN_AT00548500
 PFE_EPIPEN_AT00553188
 PFE_EPIPEN_AT00568473
 PFE_EPIPEN_AT00590186
 PFE_EPIPEN_AT00611245
 PFE_EPIPEN_AT00611490
 PFE_EPIPEN_AT00648890



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 PFE_EPIPEN_AT00648955
 PFE_EPIPEN_AT00655674
 PFE_EPIPEN_AT01059972
 PFE_EPIPEN_AT01368257
 PFECAN_EPIPEN_AT00000168
 PFECAN_EPIPEN_AT00000489
 PS0063339
 PS0063340
 PS0209703
 PS0217604
 SAN-EPI_A-0000956
 SAN-EPI_A-0011182
 SAN-EPI_A-0040974
 SAN-EPI_A-0059425
 SAN-EPI_A-0088536
 SAN-EPI-0002167
 SAN-EPI-0002512
 SAN-EPI-0003187
 SAN-EPI-0003672
 SAN-EPI-0004073
 SAN-EPI-0004239
 SAN-EPI-0004304
 SAN-EPI-0004328
 SAN-EPI-0005146
 SAN-EPI-0007054
 SAN-EPI-0008510
 SAN-EPI-0012158
 SAN-EPI-0012803
 SAN-EPI-0013235
 SAN-EPI-0013253
 SAN-EPI-0014220
 SAN-EPI-0014223
 SAN-EPI-0014347
 SAN-EPI-0027555
 SAN-EPI-0031476
 SAN-EPI-0032138
 SAN-EPI-0032713
 SAN-EPI-0033571
 SAN-EPI-0041465 (Downey Exhibit 13)
 SAN-EPI-0057752
 SAN-EPI-0058177
 SAN-EPI-0059445
 SAN-EPI-0060922
 SAN-EPI-0060923
 SAN-EPI-0062305
 SAN-EPI-0069127
 SAN-EPI-0075044
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 SAN-EPI-0080307
 SAN-EPI-0080704
 SAN-EPI-0081008
 SAN-EPI-0082989
 SAN-EPI-0083095
 SAN-EPI-0083237
 SAN-EPI-0083247
 SAN-EPI-0084805
 SAN-EPI-0087111
 SAN-EPI-0087325
 SAN-EPI-0088510
 SAN-EPI-0088870
 SAN-EPI-0089671
 SAN-EPI-0091515
 SAN-EPI-0095078
 SAN-EPI-0097951
 SAN-EPI-0102568
 SAN-EPI-0102697
 SAN-EPI-0102966 (Works Exhibit 8)
 SAN-EPI-0106495
 SAN-EPI-0119877
 SAN-EPI-0119878
 SAN-EPI-0120568
 SAN-EPI-0138659
 SAN-EPI-0146381
 SAN-EPI-0147386
 SAN-EPI-0148365
 SAN-EPI-0148375
 SAN-EPI-0158511
 SAN-EPI-0161780
 SAN-EPI-0166174
 SAN-EPI-0170356
 SAN-EPI-0171268
 SAN-EPI-0171340
 SAN-EPI-0171340 (Downey Exhibit 15)
 SAN-EPI-0171590
 SAN-EPI-0171591
 SAN-EPI-0171597
 SAN-EPI-0194007
 SAN-EPI-0197629
 SAN-EPI-0199208
 SAN-EPI-0200861
 SAN-EPI-0206698
 SAN-EPI-0210391
 SAN-EPI-0210605
 SAN-EPI-0211693
 SAN-EPI-0213952
 SAN-EPI-0216415
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 SAN-EPI-0225642
 SAN-EPI-0227361
 SAN-EPI-0230556
 SAN-EPI-0230700
 SAN-EPI-0233173
 SAN-EPI-0238962
 SAN-EPI-0243446
 SAN-EPI-0246125
 SAN-EPI-0259092
 SAN-EPI-0265085
 SAN-EPI-0272399
 SAN-EPI-0274664
 SAN-EPI-0277215
 SAN-EPI-0277608
 SAN-EPI-0279259
 SAN-EPI-0285761
 SAN-EPI-0297041
 SAN-EPI-0297235
 SAN-EPI-0297237
 SAN-EPI-0302203
 SAN-EPI-0305836
 SAN-EPI-0309724
 SAN-EPI-0310632
 SAN-EPI-0311155
 SAN-EPI-0331691
 SAN-EPI-0349131
 SAN-EPI-0377130
 SAN-EPI-0380296
 SAN-EPI-0380300
 SAN-EPI-0380305
 SAN-EPI-0380723
 SAN-EPI-0380724
 SAN-EPI-0382315
 SAN-EPI-0419743
 SAN-EPI-0419745
 SAN-EPI-0422838
 SAN-EPI-0467641
 SAN-EPI-0468116
 SAN-EPI-0468859
 SAN-EPI-0474016
 SAN-EPI-0481276
 SAN-EPI-0505644
 SAN-EPI-0505645
 SAN-EPI-0505646
 SAN-EPI-0505648
 SAN-EPI-0522279
 SAN-EPI-0525843
 SAN-EPI-0548257
 SAN-EPI-0560914



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 SAN-EPI-0562284
 SAN-EPI-0563590
 SAN-EPI-0584372
 SAN-EPI-0591672
 SAN-EPI-0591675
 SAN-EPI-0604949
 SAN-EPI-0607088
 SAN-EPI-0607552
 SAN-EPI-0607553
 SAN-EPI-0607554
 SAN-EPI-0607555
 SAN-EPI-0607556
 SAN-EPI-0613184
 SAN-EPI-0622362
 SAN-EPI-0639333
 SAN-EPI-0661153
 SAN-EPI-0661155
 SAN-EPI-0661172
 SAN-EPI-0661192
 SAN-EPI-0661193
 SAN-EPI-0661198
 SAN-EPI-0661228
 SAN-EPI-0661229
 SAN-EPI-0672067
 SAN-EPI-0688283
 SAN-EPI-0688814
 SAN-EPI-0689486
 SAN-EPI-0689494
 SAN-EPI-0689809
 SAN-EPI-0691534
 SAN-EPI-0691536
 SAN-EPI-0691569
 SAN-EPI-0697937
 SAN-EPI-0698010
 SAN-EPI-0698552
 SAN-EPI-0699296
 SAN-EPI-0705748
 SAN-EPI-0764574
 SAN-EPI-0764575
 SAN-EPI-0765933
 SAN-EPI-0780155
 SAN-EPI-0788600
 SAN-EPI-0806073
 SAN-EPI-0900347
 SAN-EPI-0921400
 SAN-EPI-0928169
 SAN-EPI-0928170
 SAN-EPI-0937195
 SAN-EPI-0937197



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 SAN-EPI-0937198
 SAN-EPI-0937199
 SAN-EPI-0937200
 SAN-EPI-0937201
 SAN-EPI-0937202
 SAN-EPI-0942591
 SAN-EPI-0946468
 SAN-EPI-0953622
 SAN-EPI-0954784
 SAN-EPI-0962121
 SAN-EPI-0962122
 SAN-EPI-1003658
 SAN-EPI-1031103
 SAN-EPI-1031769
 SAN-EPI-1148329
 SAN-EPI-1148855
 SAN-EPI-1154043
 SAN-EPI-1155596 (Downey Exhibit 49)
 SAN-EPI-1158291
 SAN-EPI-1166023
 SAN-EPI-1204458
 SAN-EPI-1207542
 SAN-EPI-1207543
 SAN-EPI-1207552
 SAN-EPI-1207556
 SAN-EPI-1207566
 SAN-EPI-1207599
 SAN-EPI-1209659
 SAN-EPI-1212218
 SAN-EPI-1214286
 SAN-EPI-1214288
 SAN-EPI-1214294
 SAN-EPI-1214295
 SAN-EPI-1214301
 SAN-EPI-1217191
 SAN-EPI-1221350
 SAN-EPI-1221352
 SAN-EPI-1223834
 SAN-EPI-1223837
 SAN-EPI-1223839
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